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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   Jennifer Hough,
                                  Plaintiff,


          -against                                       Civil Action No. 21-cv-4568


   Onika Tanya Maraj, AKA (“Nicki Minaj”)                Declaration of Robert Diaz
   an individual,
   Kenneth Petty, AKA (“Zoo”),
   an individual
                              Defendants.

                                        Declaration of Robert Diaz

   I, Robert Diaz, hereby declare according to 28 U.S.C. §1746 as follows:

   1. I submit this Declaration to support the Proof of Service letter I signed dated September 16,

       2021. I provided Plaintiff’s Counsel, Tyrone Blackburn, with two proof of service letters for

       Kenneth Petty, AKA (“ZOO”) (“Mr. Petty”), and Onika Tanya Maraj, AKA (“Nicki Minaj”)

       (“Ms. Maraj”). I have personal knowledge of the facts outlined in this Declaration.

   2. I am 37 years old. I have worked as a process server for over ten years. I have solely worked

       as a process server in California, in the city of Los Angeles.

   3. On September 15, 2021, I made a second attempt to serve Mr. Petty and Ms. Maraj at their

       Calabasas, California, estate.

   4. On September 15, 2021, at 6:28 pm PDT, I successfully served Mr. Petty in my second attempt

       with a summons and complaint for himself and one for Ms. Maraj.

   5. Additionally, I was provided a photo of Mr. Petty by Plaintiff’s Attorney, Tyrone Blackburn.

       (Exhibit A. The photo of Kenneth Petty).




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   6. When I approached the Calabasas, California estate, I was greeted by a Caucasian female

       security officer. I identified myself as a registered process server (registration number 5681)

       and informed her that I was there to serve a summons and complaint on Mr. Petty and Ms.

       Maraj.

   7. The security officer confirmed the residents of Mr. Petty and Ms. Maraj was 23483 Park

       Colombo, Calabasas, CA 91302 ("The residence").

   8. When I approached the residence, I noticed two vehicles parked in the driveway. One of the

       vehicles was a Red Range Rover, license plate # 9SCY794, and a Black Range Rover, license

       plate # 8CTR104.

   9. I approached the door and rang the doorbell. No one answered. I waited for 20 minutes, and

       I knocked on the door.

   10. I returned to the security officer at the front, where I heard her speaking on the phone with Mr.

       Petty. Mr. Petty was yelling at her because he was upset that she let me into the compound.

       He said she was supposed to call him first before letting me in.

   11. After hearing this, I returned to the residence and knocked on the door again. This time I saw

       a figure staring at me through the window. I knew it was Mr. Petty because the security guard

       informed me that he was indeed in the home. He refused to open the door. I then announced

       myself and informed him that he had been served. I showed him the two documents and left

       them outside the front of the door.

   12. As stated in the proof of service, Mr. Petty is a Black Male, approximately 40 years old,

       approximately 200lbs, approximately 5'10" tall, he has black hair and brown eyes.




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